                    UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA

ANITA S. EARLS,                                 )
                  Plaintiff,                    )
                                                )
           v.                                   )
                                                )
NORTH CAROLINA JUDICIAL                         )          1:23CV734
STANDARDS COMMISSION; THE                       )
HONORABLE CHRIS DILLON, in                      )
his official capacity as Chair of the         )
North Carolina Judicial Standards Commission; )
THE HONORABLE JEFFREY K. CARPENTER,           )
in his official capacity as Vice Chair of     )
the North Carolina Judicial Standards         )
Commission; and the following Members of the  )
North Carolina Judicial Standards Commission, )
each in his or her official capacity: THE     )
HONORABLE JEFFREY B. FOSTER; THE              )
HONORABLE DAWN M. LAYTON; THE HONORABLE       )
JAMES H. FAISON III; THE HONORABLE            )
TERESA VINCENT; MICHAEL CROWELL;              )
MICHAEL T. GRACE; ALLISON MULLINS;            )
LONNIE M. PLAYER JR.; JOHN M. CHECK;          )
TALECE Y. HUNTER; DONALD L.                   )
PORTER; and RONALD L. SMITH,                  )
                                              )
                   Defendants.                )

                               NOTICE OF HEARING
Take notice that a proceeding in this case has been set as indicated below:

             Place:   L. Richardson Preyer Bldg.,
                      324 W. Market St., Greensboro, N.C.
     Courtroom No.:   1
     Date and Time:   November 2, 2023 at 2:00 p.m.
        Proceeding:   Motion Hearing (Motion for Preliminary Injunction)

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John S. Brubaker, Clerk

By: /s/ Joy Daniel, Deputy Clerk

Date: October 24, 2023

To: ALL COUNSEL AND/OR PARTIES OR RECORD



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